           Case 7:20-mj-13673-UA Document 7 Filed 12/28/20 Page 1 of 1


UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------x


 UNITED STATES OF AMERICA,                                                     CONSENT TO PROCEED BY VIDEO OR
                                                                               TELE CONFERENCE
                             -against-
                                                                                 20 -Mag-13673 (UA)


YOHAURIS RODRIGUEZ HERNANDEZ
                                                Defendant(s).
-----------------------------------------------------------------X

Defendant _YOHAURIS RODRIGUEZ HERNANDEZ, _hereby voluntarily consents to participate
in the following proceeding via _x_ videoconferencing or _x_ teleconferencing:

_x_      Initial Appearance Before a Judicial Officer

         Arraignment (Note: If on Felony Information, Defendant Must Sign Separate Waiver of
         Indictment Form)

         Bail/Detention Hearing

         Conference Before a Judicial Officer




t.6:,, ~ /~~1 ~~ ,M/ef~==n~~t
(Judge may obtain verbal consent on                ( I
Record and Sign for Defendant)

     Yohauris Rodriguez Hernandez                                    Susanne Brody
Print Defendant's Name                                               Print Counsel's Name



This proceeding was conducted by relia le video or telephone conferencing technology.

_Dec 28, 2020_
Date                                            U.S. Magistrate Judge
                                                Southern District of New York
